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Westem District of Tennessee

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v. Case Number 2:03€R20047-01-Ma

VALERIE L. ALBONETTI

.IUDGMENT AND COMMITMENT ORDER
ON REVOCATION OF SUPERVISED RELEASE

(For OlTenses Comnu'tted 011 or Al`ter Noveml)er 1, 1987)

The defendant, Valel'ie L. Albonetti, Was represented by Mr. Edwin Perry.

lt appearing that the defendant, vvho was sentenced by the Hon. Sarnuel H. Mays, Jr. on
August 19, 2004, and placed on supervised release for a period of one ( l) year, has violated the
terms of her supervision, it is hereby ORDERED and AD.IUDGED that defendant’ s supervised
release be revoked and that defendant be committed to the custody of the United States Bureau
ofPrisons to be imprisoned for a term of one hundred two (102) days.

The defendant is remanded to the custody of the United States Marshal.

signed this l (' M\ day OfMay, 2005.

SAMUEL H. MAYS, JR.
United States District Judge

 

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ENNESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

